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     Proposed Co-Counsel for Debtors and
     Debtors in Possession


                                     UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF NEW JERSEY


 In re:                                                         Chapter 11

 BED BATH & BEYOND INC., et al.,                                Case No. 23-13359 (VFP)

                                         Debtors. 1             (Jointly Administered)



                                     NOTICE OF FILING
                                 OF REVISED FINAL ORDER
                            (I) AUTHORIZING THE DEBTORS TO
                          (A) FILE A CONSOLIDATED LIST OF THE
                      DEBTORS’ 30 LARGEST UNSECURED CREDITORS,
                (B) FILE A CONSOLIDATED LIST OF CREDITORS IN LIEU OF
             SUBMITTING A SEPARATE MAILING MATRIX FOR EACH DEBTOR,

 1      The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of
        the Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
        website of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of
        Debtor Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these chapter 11
        cases is 650 Liberty Avenue, Union, New Jersey 07083.
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       (C) REDACT CERTAIN PERSONALLY IDENTIFIABLE INFORMATION,
       (II) WAIVING THE REQUIREMENT TO PROVIDE NOTICES DIRECTLY
     TO EQUITY SECURITY HOLDERS, AND (III) GRANTING RELATED RELIEF


        PLEASE TAKE NOTICE that the above-captioned debtors and debtors in possession

 hereby file a revised proposed form of Final Order (I) Authorizing the Debtors to (A) File a

 Consolidated List of the Debtors’ 30 Largest Unsecured Creditors, (B) File a Consolidated List

 of Creditors In Lieu of Submitting a Separate Mailing Matrix for Each Debtor, (C) Redact Certain

 Personally Identifiable Information, (II) Waiving the Requirement to Provide Notices Directly to

 Equity Security Holders, and (III) Granting Related Relief (the “Revised Proposed Final Creditor

 Matrix Order”)

        PLEASE TAKE FURTHER NOTICE that a clean version of the Revised Proposed Final

 Creditor Matrix Order is attached hereto as Exhibit A and a blackline against the previous filed

 version is attached hereto as Exhibit B.

        PLEASE TAKE FURTHER NOTICE that the Debtors have resolved all formal and

 informal objections in connection with the relief requested in the Revised Proposed Final Creditor

 Matrix Order and respectfully request that the Court enter the Revised Proposed Final Creditor

 Matrix Order without a hearing.


                           [Remainder of Page Intentionally Left Blank]




                                                 2
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Dated: May 12, 2023
                                         /s/Michael D. Sirota
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                                         Proposed Co-Counsel for Debtors and
                                         Debtors in Possession
Case 23-13359-VFP   Doc 324    Filed 05/12/23 Entered 05/12/23 20:16:14   Desc Main
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                                     Exhibit A
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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

     Caption in Compliance with D.N.J. LBR 9004-1(b)
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     Proposed Co-Counsel for Debtors and Debtors in Possession


     In re:                                                             Chapter 11

     BED BATH & BEYOND INC., et al.,                                    Case No. 23-13359 (VFP)

              Debtors.1                                                 (Jointly Administered)




                                           FINAL ORDER (I)
                                         AUTHORIZING THE
                                        DEBTORS TO (A) FILE A
                                       CONSOLIDATEDLIST OF
                                      THE DEBTORS’ 30 LARGEST
                                   UNSECURED CREDITORS, (B) FILE A

 1      The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of
        the Debtors in these Chapter 11 Cases and each such Debtor’s tax identification number may be obtained on the
        website of the Debtors’ proposed claims and noticing agent at https://cases.ra.kroll.com/BBBY. The location of
        Debtor Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these Chapter 11
        Cases is 650 Liberty Avenue, Union, New Jersey 07083.
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                  CONSOLIDATED LIST OF CREDITORS
                  IN LIEU OF SUBMITTING A SEPARATE
            MAILING MATRIX FOR EACH DEBTOR, (C) REDACT
         CERTAIN PERSONALLY IDENTIFIABLE INFORMATION, (II)
       WAIVING THE REQUIREMENT TO PROVIDE NOTICES DIRECTLY
    TO EQUITY SECURITY HOLDERS, AND (III) GRANTING RELATED RELIEF

      The relief set forth on the following pages, numbered three (3) through six (6), is

 ORDERED.




                                           2
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 (Page | 3)
 Debtors:                  BED BATH & BEYOND INC., et al.
 Case No.                  23-13359 (VFP)
 Caption of Order:         Final Order (I) Authorizing the Debtors to (A) File a Consolidated List of
                           the Debtors’ 30 Largest Unsecured Creditors, (B) File a Consolidated List
                           of Creditors In Lieu of Submitting a Separate Mailing Matrix for Each
                           Debtor, (C) Redact Certain Personally Identifiable Information, (II)
                           Waiving the Requirement to Provide Notices Directly to Equity Security
                           Holders, and (III) Granting Related Relief

         Upon the Debtors’ Motion for Entry of Interim and Final Order (I) Authorizing the Debtors

 to (A) File a Consolidated List of the Debtors’ 30 Largest Unsecured Creditors, (B) File a

 Consolidated List of Creditors In Lieu of Submitting a Separate Mailing Matrix for Each Debtor,

 (C) Redact Certain Personally Identifiable Information, (II) Waiving the Requirement to File a

 List of Equity Holders and Provide Notices Directly to Equity Security Holders, and (III) Granting

 Related Relief [Docket No. 8] (the “Motion”),2 of the above-captioned debtors and debtors in

 possession (collectively, the “Debtors”), for entry of a final order (this “Final Order”)

 (a) authorizing the Debtors to (i) file a consolidated list of the Debtors’ 30 largest unsecured

 creditors in lieu of filing separate creditors lists for each Debtor, (ii) file a consolidated list of

 creditors in lieu of submitting a separate mailing matrix for each Debtor, (iii) redact certain

 personally identifiable information; (b) waiving the requirement to provide notices directly to

 equity security holders; and (c) granting related relief, all as more fully set forth in the Motion;

 and upon the First Day Declaration; and the Court having jurisdiction to consider the Motion and

 the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order of

 Reference to the Bankruptcy Court Under Title 11 of the United States District Court for the

 District of New Jersey, entered July 23, 1984, and amended on September 18, 2012

 (Simandle, C.J.); and this Court having found that venue of this proceeding and the Motion in this

 district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the


 2   Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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 (Page | 4)
 Debtors:               BED BATH & BEYOND INC., et al.
 Case No.               23-13359 (VFP)
 Caption of Order:      Final Order (I) Authorizing the Debtors to (A) File a Consolidated List of
                        the Debtors’ 30 Largest Unsecured Creditors, (B) File a Consolidated List
                        of Creditors In Lieu of Submitting a Separate Mailing Matrix for Each
                        Debtor, (C) Redact Certain Personally Identifiable Information, (II)
                        Waiving the Requirement to Provide Notices Directly to Equity Security
                        Holders, and (III) Granting Related Relief

 relief requested in the Motion is in the best interests of the Debtors’ estates, their creditors, and

 other parties in interest; and this Court having found that the Debtors’ notice of the Motion was

 appropriate under the circumstances and no other notice need be provided; and this Court having

 reviewed the Motion and having heard the statements in support of the relief requested therein at

 a hearing before this Court (the “Hearing”); and this Court having determined that the legal and

 factual bases set forth in the Motion establish just cause for the relief granted herein; and upon all

 of the proceedings had before the Court and after due deliberation and sufficient cause appearing

 therefor,

        IT IS HEREBY ORDERED THAT:

        1.      The Motion is GRANTED on a final basis as set forth herein.

        1.      The Debtors are authorized, but not directed, pursuant to section 105(a) of the

 Bankruptcy Code, Bankruptcy Rule 1007(d), and Local Rule 1007-1 to submit a consolidated

 Creditor Matrix; provided that if any of these Chapter 11 Cases converts to a case under chapter 7

 of the Bankruptcy Code, each applicable Debtor shall file its own creditor mailing matrix within

 14 days of any such conversion.

        2.      The Debtors are authorized to submit a single consolidated list of their 30 largest

 unsecured creditors in lieu of a separate list for each Debtor.

        3.      The Debtors are authorized, on a final basis, to file one Consolidated Creditor

 Matrix for all Debtors.
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 (Page | 5)
 Debtors:               BED BATH & BEYOND INC., et al.
 Case No.               23-13359 (VFP)
 Caption of Order:      Final Order (I) Authorizing the Debtors to (A) File a Consolidated List of
                        the Debtors’ 30 Largest Unsecured Creditors, (B) File a Consolidated List
                        of Creditors In Lieu of Submitting a Separate Mailing Matrix for Each
                        Debtor, (C) Redact Certain Personally Identifiable Information, (II)
                        Waiving the Requirement to Provide Notices Directly to Equity Security
                        Holders, and (III) Granting Related Relief

          4.    The Debtors are authorized, pursuant to section 107(c) of the Bankruptcy Code, to

 redact on the Consolidated Creditor Matrix, Schedules and Statements, or other document filed

 with the Court (a) the home and email addresses of individuals and (b) all personally identifiable

 information of minors pursuant to Bankruptcy Rule 9037. The Debtors shall provide an unredacted

 version of the Creditor Matrix, Schedules and Statements, and any other filings redacted pursuant

 to this Order to (a) the Court, (b) the U.S. Trustee, (c) counsel to any official committee appointed

 in these Chapter 11 Cases, and (d) to any party in interest upon a request to the Debtors (email is

 sufficient) or to the Court that is reasonably related to these Chapter 11 Cases; provided that any

 receiving party shall not transfer or otherwise provide such unredacted document to any person or

 entity not party to the request. The Debtors shall inform the U.S. Trustee promptly after denying

 any request for an unredacted document pursuant to this Order. Nothing herein precludes a party

 in interest’s right to file a motion requesting that the Court unseal the information redacted by this

 Order.

          5.    The Debtors shall cause the Creditor Matrix to be made available in readable

 electronic format (or in non-electronic format) upon reasonable request by parties in interest.

          6.    Any requirement that Debtor Bed Bath & Beyond Inc. provide notice directly to

 equity security holders under Bankruptcy Rule 2002(d) is waived, and the Debtors are authorized

 to serve the notices required under Bankruptcy Rule 2002(d) on the known holders of the Debtors’

 equity securities.
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 Debtors:               BED BATH & BEYOND INC., et al.
 Case No.               23-13359 (VFP)
 Caption of Order:      Final Order (I) Authorizing the Debtors to (A) File a Consolidated List of
                        the Debtors’ 30 Largest Unsecured Creditors, (B) File a Consolidated List
                        of Creditors In Lieu of Submitting a Separate Mailing Matrix for Each
                        Debtor, (C) Redact Certain Personally Identifiable Information, (II)
                        Waiving the Requirement to Provide Notices Directly to Equity Security
                        Holders, and (III) Granting Related Relief

        7.      The Debtors, through Kroll, are authorized, on a final basis, to serve all pleadings

 and papers on all parties listed on the Consolidated Creditor Matrix (including via email if

 available).

        8.      The Debtors are authorized to take all actions necessary to effectuate the relief

 granted pursuant to this Final Order in accordance with the Motion.

        9.      Notice of the Motion as provided therein shall be deemed good and sufficient notice

 of such Motion and the requirements of the Bankruptcy Rules and the Local Rules are satisfied by

 such notice.

        10.     The requirement set forth in Local Rule 9013-1(a)(3) that any motion be

 accompanied by a memorandum of law is hereby deemed satisfied by the contents of the Motion

 or otherwise waived.

        11.     This Court retains exclusive jurisdiction with respect to all matters arising from or

 related to the implementation, interpretation, and enforcement of this Final Order.
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                                   Exhibit B
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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

     Caption in Compliance with D.N.J. LBR 9004-1(b)
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     fyudkin@coleschotz.com

     Proposed Co-Counsel for Debtors and Debtors in Possession


     In re:                                                            Chapter 11

     BED BATH & BEYOND INC., et al.,                                   Case No. 23-13359 (___VFP)

              Debtors.1                                                (Jointly Administerationed Requested)




                                           FINAL ORDER (I)
                                          AUTHORIZING THE
                                              DEBTORS
                                TO (A) FILE A CONSOLIDATED LIST OF
                                        CONSOLIDATEDLIST OF



 1      The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of
        the Debtors in these Chapter 11 Cases and each such Debtor’s tax identification number may be obtained on the
        website of the Debtors’ proposed claims and noticing agent at https://cases.ra.kroll.com/BBBY. The location of
        Debtor Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these
        Chapter 11 Cases is 650 Liberty Avenue, Union, New Jersey 07083.
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                               THE DEBTORS’
                                30 LARGEST
                     UNSECURED CREDITORS, (B) FILE A
                              CONSOLIDATED
                            LIST OF CREDITORS
                    IN LIEU OF SUBMITTING A SEPARATE
                                 MAILING
                  MATRIX FOR EACH DEBTOR, (C) REDACT
                           CERTAIN PERSONALLY
                      IDENTIFIABLE INFORMATION, (II)
                      WAIVING THE REQUIREMENT TO
     FILE A LIST OF EQUITY HOLDERS AND PROVIDE NOTICES DIRECTLY
    TO EQUITY SECURITY HOLDERS, AND (III) GRANTING RELATED RELIEF

      The relief set forth on the following pages, numbered three (3) through six (6), is

 ORDERED.




                                           2
Case 23-13359-VFP           Doc 324 Filed 05/12/23 Entered 05/12/23 20:16:14                           Desc Main
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 (Page | 3)
 Debtors:                  BED BATH & BEYOND INC., et al.
 Case No.                  23-13359 (VFP)
 Caption of Order:         Final Order (I) Authorizing the Debtors to (A) File a Consolidated List of
                           the Debtors’ 30 Largest Unsecured Creditors, (B) File a Consolidated List
                           of Creditors In Lieu of Submitting a Separate Mailing Matrix for Each
                           Debtor, (C) Redact Certain Personally Identifiable Information, (II)
                           Waiving the Requirement to File a List of Equity Holders and Provide
                           Notices Directly to Equity Security Holders, and (III) Granting Related
                           Relief

         Upon the Debtors’ Motion for Entry of Interim and Final Order (I) Authorizing the

 Debtors to (A) File a Consolidated List of the Debtors’ 30 Largest Unsecured Creditors, (B) File

 a Consolidated List of Creditors In Lieu of Submitting a Separate Mailing Matrix for Each

 Debtor, (C) Redact Certain Personally Identifiable Information, (II) Waiving the Requirement to

 File a List of Equity Holders and Provide Notices Directly to Equity Security Holders, and

 (III) Granting Related Relief [Docket No. 8] (the “Motion”),2 of the above-captioned debtors and

 debtors in possession (collectively, the “Debtors”), for entry of a final order (this “Final Order”)

 (a) authorizing the Debtors to (i) file a consolidated list of the Debtors’ 30 largest unsecured

 creditors in lieu of filing separate creditors lists for each Debtor, (ii) file a consolidated list of

 creditors in lieu of submitting a separate mailing matrix for each Debtor, (iii) redact certain

 personally identifiable information; (b) waiving the requirement to file a list of equity holders

 and provide notices directly to equity security holders; and (c) granting related relief, all as more

 fully set forth in the Motion; and upon the First Day Declaration; and the Court having

 jurisdiction to consider the Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157

 and 1334 and the Standing Order of Reference to the Bankruptcy Court Under Title 11 of the

 United States District Court for the District of New Jersey, entered July 23, 1984, and amended

 on September 18, 2012 (Simandle, C.J.); and this Court having found that venue of this



 2   Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
Case 23-13359-VFP         Doc 324 Filed 05/12/23 Entered 05/12/23 20:16:14                  Desc Main
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 Debtors:               BED BATH & BEYOND INC., et al.
 Case No.               23-13359 (VFP)
 Caption of Order:      Final Order (I) Authorizing the Debtors to (A) File a Consolidated List of
                        the Debtors’ 30 Largest Unsecured Creditors, (B) File a Consolidated List
                        of Creditors In Lieu of Submitting a Separate Mailing Matrix for Each
                        Debtor, (C) Redact Certain Personally Identifiable Information, (II)
                        Waiving the Requirement to File a List of Equity Holders and Provide
                        Notices Directly to Equity Security Holders, and (III) Granting Related
                        Relief

 proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

 this Court having found that the relief requested in the Motion is in the best interests of the

 Debtors’ estates, their creditors, and other parties in interest; and this Court having found that the

 Debtors’ notice of the Motion was appropriate under the circumstances and no other notice need

 be provided; and this Court having reviewed the Motion and having heard the statements in

 support of the relief requested therein at a hearing before this Court (the “Hearing”); and this

 Court having determined that the legal and factual bases set forth in the Motion establish just

 cause for the relief granted herein; and upon all of the proceedings had before the Court and after

 due deliberation and sufficient cause appearing therefor,

        IT IS HEREBY ORDERED THAT:

        1.      The Motion is GRANTED on a final basis as set forth herein.

        1.      The Debtors are authorized, but not directed, pursuant to section 105(a) of the

 Bankruptcy Code, Bankruptcy Rule 1007(d), and Local Rule 1007-1 to submit a consolidated

 Creditor Matrix; provided that if any of these Chapter 11 Cases converts to a case under chapter

 7 of the Bankruptcy Code, each applicable Debtor shall file its own creditor mailing matrix

 within 14 days of any such conversion.

        2.      The Debtors are authorized to submit a single consolidated list of their 30 largest

 unsecured creditors in lieu of a separate list for each Debtor.
Case 23-13359-VFP          Doc 324 Filed 05/12/23 Entered 05/12/23 20:16:14               Desc Main
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 (Page | 5)
 Debtors:               BED BATH & BEYOND INC., et al.
 Case No.               23-13359 (VFP)
 Caption of Order:      Final Order (I) Authorizing the Debtors to (A) File a Consolidated List of
                        the Debtors’ 30 Largest Unsecured Creditors, (B) File a Consolidated List
                        of Creditors In Lieu of Submitting a Separate Mailing Matrix for Each
                        Debtor, (C) Redact Certain Personally Identifiable Information, (II)
                        Waiving the Requirement to File a List of Equity Holders and Provide
                        Notices Directly to Equity Security Holders, and (III) Granting Related
                        Relief

        3.      The Debtors are authorized, on a final basis, to file one Consolidated Creditor

 Matrix for all Debtors.

        4.      The Debtors are authorized, pursuant to section 107(c) of the Bankruptcy Code, to

 redact on the Consolidated Creditor Matrix, Schedules and Statements, or other document filed

 with the Court (a) the home and email addresses of individuals and (b) all personally identifiable

 information of minors pursuant to Bankruptcy Rule 9037.           The Debtors shall provide an

 unredacted version of the Creditor Matrix, Schedules and Statements, and any other filings

 redacted pursuant to this Order to (a) the Court, (b) the U.S. Trustee, (c) counsel to any official

 committee appointed in these Chapter 11 Cases, and (d) to any party in interest upon a request to

 the Debtors (email is sufficient) or to the Court that is reasonably related to these Chapter 11

 Cases; provided that any receiving party shall not transfer or otherwise provide such unredacted

 document to any person or entity not party to the request. The Debtors shall inform the U.S.

 Trustee promptly after denying any request for an unredacted document pursuant to this Order.

 Nothing herein precludes a party in interest’s right to file a motion requesting that the Court

 unseal the information redacted by this Order.

        5.      The Debtors shall cause the Creditor Matrix to be made available in readable

 electronic format (or in non-electronic format) upon reasonable request by parties in interest.

        6. The requirement under Bankruptcy Rule 1007(a)(3) to file an Equity List for Debtor

 Bed Bath & Beyond Inc. is waived.
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 Debtors:               BED BATH & BEYOND INC., et al.
 Case No.               23-13359 (VFP)
 Caption of Order:      Final Order (I) Authorizing the Debtors to (A) File a Consolidated List of
                        the Debtors’ 30 Largest Unsecured Creditors, (B) File a Consolidated List
                        of Creditors In Lieu of Submitting a Separate Mailing Matrix for Each
                        Debtor, (C) Redact Certain Personally Identifiable Information, (II)
                        Waiving the Requirement to File a List of Equity Holders and Provide
                        Notices Directly to Equity Security Holders, and (III) Granting Related
                        Relief

        6.      7. Any requirement that Debtor Bed Bath & Beyond Inc. provide notice directly to

 equity security holders under Bankruptcy Rule 2002(d) is waived, and the Debtors are authorized

 to serve the notices required under Bankruptcy Rule 2002(d) on the known holders of the

 Debtors’ equity securities.

        7.      8. The Debtors, through Kroll, are authorized, on a final basis, to serve all

 pleadings and papers on all parties listed on the Consolidated Creditor Matrix (including via

 email if available).

        8.      9. The Debtors are authorized to take all actions necessary to effectuate the relief

 granted pursuant to this Final Order in accordance with the Motion.

        9.      10. Notice of the Motion as provided therein shall be deemed good and sufficient

 notice of such Motion and the requirements of the Bankruptcy Rules and the Local Rules are

 satisfied by such notice.

        10.     11. The requirement set forth in Local Rule 9013-1(a)(3) that any motion be

 accompanied by a memorandum of law is hereby deemed satisfied by the contents of the Motion

 or otherwise waived.

        11.     12. This Court retains exclusive jurisdiction with respect to all matters arising

 from or related to the implementation, interpretation, and enforcement of this Final Order.
Case 23-13359-VFP     Doc 324 Filed 05/12/23 Entered 05/12/23 20:16:14               Desc Main
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 (Page | 7)
 Debtors:            BED BATH & BEYOND INC., et al.
 Case No.            23-13359 (VFP)
 Caption of Order:   Final Order (I) Authorizing the Debtors to (A) File a Consolidated List of
                     the Debtors’ 30 Largest Unsecured Creditors, (B) File a Consolidated List
                     of Creditors In Lieu of Submitting a Separate Mailing Matrix for Each
                     Debtor, (C) Redact Certain Personally Identifiable Information, (II)
                     Waiving the Requirement to File a List of Equity Holders and Provide
                     Notices Directly to Equity Security Holders, and (III) Granting Related
                     Relief
